Case 1:15-cv-22782-MGC Document 182-3 Entered on FLSD Docket 11/28/2017 Page 1 of 4




                            Exhibit 3
Case 1:15-cv-22782-MGC Document 182-3 Entered on FLSD Docket 11/28/2017 Page 2 of 4




                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                              Case No. 15-22782-cv-:MGC

      BENJAMIN FERNANDEZ, GUSTAVO
      MARTINEZ, OSCAR LUZURIAGA, and
      DANIEL ARAUJO as trustees of and on
                             I

      behalf of the LAAD RETIREMENT PLAN,
      and as trustees of and on behalf of the
      LAAD CORPORATIONS .A . MONEY
      PURCHASE :RETIREMENT PLAN, and on
      behalf of all others similarly situated,

              Plaintiff:~.

      v.

      MERRlLLLYNCH , PIERCE,
      FENNER & SMITH IN CORPORATED ,

               Defendant.
                                      _ _ _        ..............
                                                   ,              ,..   ______ /


               I, BENJAMIN FERNANDE Z, declare:

               1.       I have personal knowledge of the facts and m atters alleged herein and can

      competently testify to same.

               2.       I am a trustee of the LAAD Retirement Plan ("LRP") and, during its

      existe11ce and at the time of its te1mination, was a trustee of the LAAD Corporation S.A.

      .Money I)urc hase
                     . ..'R.etirement
                              .                  I' 'M"P'RIJ
                                      'P.lan ("'·.,.,.... . ," 1 co.·11ectlve      . 'h, ·r"' R'I)
                                                                          .. ·1·y wtt           . , t1·1e ''I    . . . F'l
                                                                                                           · ., AAD    . ans.").

               3.        On or after January 20, 2015, the LAAD Plans received correspondence from

      Merrill Lynch that referred to a. reimbursement for sales charges pursuant to a "regulatory



             The LMPRP was terminated as of November 2009, and all assets of the LMPRP
      were transferred to the LRP in March 2010.
Case 1:15-cv-22782-MGC Document 182-3 Entered on FLSD Docket 11/28/2017 Page 3 of 4


                                                                       Case No. 15-22782-cv-MGC


      settlement" between the Financial Indu stry Regulatory Authority and Merrill Lynch. I,

      together with my colleagues Gustavo Martinez, Oscar Luzuriaga, as trustees for the LAAD

      Plans (the "Trustees"), noticed that the amounts Merrill Lynch refunded to the LAAD

      Plans appeared to be less than the improper sales charges actually paid by the LAAD

      Plans. 2

                 4.   In 2015, the Trustees and I sent the Merrill Lynch correspondence to the firm

      Rodriguez Tramont & Nunez P.A., which represented LAAD Corporation in previous

      matters , and inquired about potential issues with the Remediation payments by Merrill

      Lynch. Our attorneys asked Merrill to provide an accounting of the Remediation payments

      made to the LAAD Plans, but Merrill refused.

                 5.   As fiduciaries to our own retirement plans, we as the Trustees felt compelled

      to bring this action and to undertake the daunting task of challenging a nationwide

      remediation made by a large financial services firm.

                 6.   The Trustees and I have never before served as class representatives .

                 7.   As far as we know. the Trustees and I were the only trustees of a RCMA 05

      small business retirement plan to bring a claim -"'"". or even raise questions about -- the issues

      that have resulted in the Class Settlement.

                 8.   The Trustees and I monfrored and actively participated in the formulation and

      prosecution the action, and all three of us were deposed. Each of us traveled to Atlanta to

      attend at least one of the two mediation sessions, and each gave substantive input into the

      settlement negotiation strategy.



      2
              The Trustees originally included my now-forme.r colleague and former LAAD Plans
      trustee , Daniel Araujo.


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Case 1:15-cv-22782-MGC Document 182-3 Entered on FLSD Docket 11/28/2017 Page 4 of 4


                                                                       Case No. 15-22782-cv-MGC

             I declare under penalty of perjury under the laws of the United States of America,

      which I submit to for purposes of this testimony , that the foregoing is true and correct.

             Executed this 2- t- day ofNovember, 2017, in Miami, Florida .


                                                                                 . -/·J
                                                           BENJAMIN FERNANDEZ




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